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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                          PINE BLUFF DIVISION

CGH OF MCGEHEE AR 2011, LP                                                  PLAINTIFF

v.                        CASE NO. 5:17-CV-00025 BSM

DEVERE CONSTRUCTION COMPANY, INC., et al.                               DEFENDANTS

                                    JUDGMENT

     Consistent with the order entered on this day, this case is dismissed with prejudice.

     IT IS SO ORDERED this 23rd day of January 2018.


                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
